       Case 4:22-cv-00152-MW-MAF Document 5 Filed 03/08/22 Page 1 of 2




                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                           Case No. 0:22-cv-60336-WPD

DALE HARTLEY,

       Plaintiffs,

v.

SARMA COLLECTIONS, INC.,

      Defendant.
_______________________________________/

                       UNOPPOSED MOTION FOR EXTENSION OF TIME
                          TO RESPOND TO MOTION TO DISMISS

       Plaintiff Dale Hartley (“Plaintiff”) files this Unopposed Motion for Extension of Time with

respect to the Motion to Dismiss [D.E. 4] filed by Defendant Sarma Collections, Inc (“Defendant”)

on February 20, 2022.

       1.         Defendant’s Motion to Dismiss [D.E. 4] (the “Motion”) raises issue with venue

and/or jurisdiction, as Defendant contends Plaintiff’s cause of action arose outside of this district.

Counsel for Plaintiff is currently investigating Defendant’s claim with respect to the district in

which Plaintiff’s claim arose and expects to have the results of such investigation on or before

March 22, 2022. As such, Plaintiff seeks an additional two (2) weeks to respond to the Motion.

       2.         The additional time sought is not for purposes of delay. Further, the additional time

sought will not have any prejudicial impact on Defendant, as prior to the filing of this Motion, the

undersigned conferred with counsel for Defendant regarding this Motion and Defendant advised

that it (Defendant) does not oppose the extension Plaintiff seek herein.

       WHEREFORE, Plaintiffs, respectfully, requests this Court grant Plaintiffs an extension

through and including March 22, 2022, to respond to the Motion to Dismiss [D.E. 4].
                                                                                                                PAGE | 1 of 2
                                    LAW OFFICES OF JIBRAEL S. HINDI, PLLC
            110 SE 6th Street, 17th Floor | Ft. Lauderdale, Florida 33301 | Phone (954) 907-1136 | Fax (855) 529-9540
                                                      www.JibraelLaw.com
       Case 4:22-cv-00152-MW-MAF Document 5 Filed 03/08/22 Page 2 of 2




                                  Certificate of Compliance with Local Rule 7.1

        Pursuant to Local Rule 7.1(a)(3), undersigned counsel for Plaintiff conferred with counsel

for Defendant, of whom stated that Defendant does not oppose to the relief sought herein.

       DATED: March 8, 2022
                                                              Respectfully Submitted,
                                                               /s/ Thomas Patti                                       .
                                                              JIBRAEL S. HINDI, ESQ.
                                                              Florida Bar No.: 118259
                                                              E-mail:    jibrael@jibraellaw.com
                                                              THOMAS J. PATTI, ESQ.
                                                              Florida Bar No.: 118377
                                                              E-mail:    tom@jibraellaw.com
                                                              The Law Offices of Jibrael S. Hindi
                                                              110 SE 6th Street, Suite 1744
                                                              Fort Lauderdale, Florida 33301
                                                              Phone:     954-907-1136
                                                              Fax:       855-529-9540
                                                              COUNSEL FOR PLAINTIFF

                                       CERTIFICATE OF SERVICE

       The undersigned certifies that on March 8, 2022, the forgoing was electronically via the

Court’s CM/ECF system on all counsel of record.

                                                                             Respectfully Submitted,

                                                                              /s/ Thomas J. Patti    .
                                                                             THOMAS J. PATTI, ESQ.
                                                                             Florida Bar No.: 118377




                                                                                                              PAGE | 2 of 2
                                  LAW OFFICES OF JIBRAEL S. HINDI, PLLC
          110 SE 6th Street, 17th Floor | Ft. Lauderdale, Florida 33301 | Phone (954) 907-1136 | Fax (855) 529-9540
                                                    www.JibraelLaw.com
